Case 1:18-cr-00365-EGS Document 13 Filed 01/07/19 Page 1 of 7

UNlTEn STATEs Dls'rR\cT CouRT
Northern District of llllnois
219 South Dearborn Street
Chicago, |l|lnois 60604

 

Thomas G. Bruton 312-435~5670
Clerk

Transfer of Criminal Case
Date: 1/2/ 19
Address: USDC, District of Co|umbia
Case Title: USA v l-Ioncharova
Northern District of Illinois Case No.: 18cr882 Other Court’s Case No.:
Dear Sir/Madam:

Enclosed please find a certified copy of the docket sheet and documents being transferred to your
court pursuant to:

F.R.CR.P s= [:| m ® our

l:l Order.

Commitment Order.

m Bond Transfer.

I:I Order Setting Conditions of Release.
I:l Appearance bond.

I:\ Financial Aff`ldavit.

18 U.S.C § 3605 Transfer of Jurisdiction Probation 22 \:] ln m Out

(:l Certif`led copy of` the Probation 22 form.
m lndictment.

[:l lnf`ormation.

l:] Superseding indictment

I:] Superseding lnformation.

I:I Sentencing Order.

I:l Amended Sentencing Order.

\:I Rule 12B form.

m Email us a certified copy of the charging instrument,judgment, signed Probation 22 form and
the docket sheet.

Revised |0/03/ l 6

Case 1:18-cr-00365-EGS Document 13 Filed 01/07/19 Page 2 of 7

[| F.R.cr.P. 20 [l F.R.Cr.P. 21 \:| in l:| out '
[:] lndictment.

{:] lni`ormation.

I:I Superseding lndictment.

l:] Superseding Information.

E Sentencing Order.

[:\ Consent to Transf`er Jurisdiction.

Sincerely,
Thomas G. Bruton, Clerk of Court

By: /s/Gregory Young
Deputy Clerk

 

TO BE COMPLETED BY THE RECEIVING DISTRICT
Please acknowledge receipt via email to: docketing_ilnd@ilnd.uscourts.gov
Clerk, U.S. District Court

Date: By:
Deputy Clerk

Revised 10103/1 6

CM/ECF LIEES<¥T.§§~ér=chb§o@ig®s€®oebwr§musllirmied 01/07/19 Page 3 of 7 Page l Of 3

INTERP

United States District Court

Northern District of Illinois - CM/ECF LIVE, Ver 6.2.2 (Chicago)
CRIMINAL DOCKET FOR CASE #: l:lS-cr-00882-l

Case title: USA v. l-Ioncharova

Internal Use Only

Date Filed: 12/21/2018
Date Terminated: 12./28/2018

 

Assigned to: Honorable Jeffrcy T.

Gilbert

Defendant 1

Liubov Honcharova
TERMINA TED: 12/28/201 8
also known as

Precious

TERMINA TED: 12/28/2018

Pending Counts
None

represented by Piyush Chandra
Federal Defender Program
55 East Monroc Street
Suite 2800
Chicago, IL 60603
(312) 621-8337
Email: piyush_chandra@fd.org
ATTORNEY TO BE NOTICED
Designation: Assistant US Attorney

Disposition

Highest Offense Level gOgening}

None

Terminated Counts
None

Disposition

Highest Offense Level §Terminated[

None

Complaints

18:1956-4999.F - Money L,aun

'Fraud, Other

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Plaintiff
USA

represented by Kaitlin Grace Klamann
United States Attorney's Ol`lice for the Northern
Distri
219 South Dearborn Street
Sth Floor
Chicago, IL 60604
(312) 353-5361
Email: kaitlin.klamann@usdoj.gov
LEAD A TTORNE 1’
A TTORNEY TO BE NGTICED
Designation: Assistam‘ US Altorney

AUSA - Chicago

United States Attorney's Office (NDll., - Chicago)
219 South Dearborn Street

Chicago, lL 60604

Email: USAlLN.ECFAUSA@usdoj.gov
ATI`ORNEY TO BE NOTICED

Designation: Assistant US Attorney

Pretrial Services

(312) 435-5793

Email:
ilnptdb__Court_Action_Notice@ilnpt.uscourts.gov
A YTORNEY TO BE NOTICED

Designation: Pretrial Services

 

Date Filed

Docket Text

 

l 2/20/201 8

ARREST of defendant Liubov Honcharova. (gcy, ) (Entered: 12/26/2018)

 

12/21/2018

RULE 5(c)(3) Affidavit in Removal Proceedings signed by .ludge Honorab|e
Jeffrey T. Gilbert as to Liubov Honcharova (l). (gcy, ) (Entered: 12/21/2018)

 

12/21/2018

ORAL MOTION by USA for removal in custody as to Liubov Honcharova.
(gcy, ) (Entered: 12/26/2018)

 

12/21/2018

 

 

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ORDER as to Liubov Honcharova: lnitial appearance and removal proceedings
held on 12/21/18. lnterpreter sworn. Defendant appeared in response to arrest on
12/20/18. Defendant was informed of her rights, the nature of the charges and the
maximum penalties. Piyush Chandra from the Federal Defender Program is
assigned as counsel for Defendant. Defendant waived an identity hearing. The
Court finds that Defendant Liubov Honcharova is the person named in the arrest
warrant. Defendant was informed of her rights under Rule 20 of the F ederal Rules
of Criminal Procedure. The Government orally moved to have Defendant
removed in custody to the District of Columbia on the ground that Defendant
poses a risk of flight ln accordance with 18 U.S.C.§l42(i)(2), for good cause

 

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shown and by agreement of the parties, a detention hearing is set for 12/28/18 at

l 1100 a.m. in courtroom l743 before the criminal duty magistratejudge. As
provided by 18 U.S.C. § 3142(0(2), Defendant is remanded to the custody of the
U.S. Marshal and shall remain in custody until further order of the Court. lt is
ordered that Defendant shall remain confined in the Metropolitan Correction
Center or an alternative facility designated by the U.S. Marshal, but held separate,
to the extent practicable, from persons awaiting or serving sentences or being
held in custody pending appeal. lt is further ordered that Defendant shall be
afforded reasonable opportunity for private consultation with her counsel while in
custody. At Defendants request, the Govemment will notify the Ukrainian
Consulate of this case. Signed by the l-lonorable .|effrey T. Gilbert on 12/21/18.
Mailed notice (gcy, )(Entered: 12/26/2018)

 

12/26/20 l 8

lb)

PRETRIAL Bail Report as to Liubov Honcharova (SEALED) (Nelin, Laura)
(Entered: 12/26/2018)

 

12/28/2018

ORAL MOTION by USA for pretrial detention as to Liubov Honcharova. (gcy, )
(Entered: 01/02/2019)

 

12/28/2018

ORAL MOTION by Liubov Honcharova to make lnternational phone call. (gcy, )
(Entered: 01/02/2019)

 

12/28/2018

l-l>

ORDER as to Liubov Honcharova: Detention hearing held. lnterpreter present
and sworn to be used on a stand-by basis. Defendant does not contest the
government's motion for pretrial detention at this time. This is without prejudice
to defendant's right to move ata later time for pretrial release on conditions.
Government's oral motion for pretrial detention is granted. Defendant shall
remain in custody. Defense counsel's oral motion to allow the defendant to make
an international phone call to her mom in Ukraine is granted. The Government
will work with the US Marshal’s office to help facilitate the phone call. Defendant
is ordered removed to the District of Columbia. Signed by the Honorable Mary
M. Rowland on 12/28/18. Mailed notice (gcy, ) (Entered: 01/02/2019)

 

12/28/2018

ILlI

COMMlTMENT TO ANOTHER DISTRlCT as to Defendant Liubov
Honcharova committed to District of Columbia. Signed by the Honorable Mary
M. Rowland on 12/28/18. Mailed notice (gcy, ) (Entered: 01/02/2019)

 

01/02/2019

 

 

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CERT|FIED and 'I`ransmitted to District of Columbia via email the record
consisting of the transmittal letter.(gcy, ) (Entered: 01/02/2019)

 

 

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IN THE UNITED STATES DISTRiCT COURT FOR THE
NORTHERN DISTRICT OF lLLINOlS

 

United States of America

Plaintiff(s), Case No. 18 CR 882

v. Magistrate Judge: Rowland
Liubov Honcharova

Defendant(s).

ORDER

 

Detention hearing held. lnterpreter present and sworn to be used on a stand-by basis. Defendant
does not contest the govemment’s motion for pretrial detention at this time. This is without
prejudice to defendant’s right to move at a later time for pretrial release on conditions
Govemment’s oral motion for pretrial detention is granted. Defendant shall remain in custody.
Defense counsel’s oral motion to allow the defendant to make an international phone call to her
mom in Ukraine is granted. The Government will work with the US Marshal’s office to help
facilitate the phone call. Defendant is ordered removed to the District of Columbia.

(T:) 00:05

Date: December 28, 2018 z M M

UNITED STATES MAGISTR.ATE JUDGE

 

 

 

 

 

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AO 94 (Rev. 06/09) Commitment to Another District

 

 

UNITED STATES DISTRICT COURT

for the
Northem District of illinois

United States of America
V.

Case No. 18 cr 882

Liubov Honcharova

Charging District’s

Case No.

 

Defendanl
COMMITMENT TO ANOTHER DISTRICT

The defendant has been ordered to appear in the District of Columbia

(ifapplicable) division. The defendant may need an interpreter for this language:
' Ukranian

The defendant: t‘J will retain an attorney.

d is requesting court-appointed counsel.
The defendant remains in custody after the initial appearance.

IT lS ORDERED: The United States marshal must transport the defendant, together with a copy of this order,
to the charging district and deliver the defendant to the United States marshal for that district, or to another officer
authorized to receive the defendant. The marshal or officer in the charging district should immediately notify the United
States attorney and the clerk of court for that district of the defendant’s arrival so that further proceedings may be
promptly scheduled. The clerk of this district must promptly transmit the papers and any bail to the charging district.

/ /V(é¢/a._g

Date: 12/28/2018 /?/1?”“":/;1`

 

Judge 's signature

Ma M. Rowland United States Ma lstrate Jud a

 

      

   

Primed name and title
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